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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                        Case Number 4:98cr140

                                                          USM Number 15987-047

FRANK SHAMBURGER
              Defendant
                                                           Michael J. Hansen

                                                          Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to allegations 1, 2, and 3 of the Petition for Offender Under
Supervision (Filing #136).

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                 Date Violation
       Violation Number                   Nature of Violation                     Concluded


 (Mandatory Condition)              The defendant shall not commit
                                    another federal, state, or local      November 18, 2004
                                    crime.

 (Standard Condition #1)            The defendant shall not leave
                                    the judicial district without the
                                    permission of the court of            November 18, 2004
                                    probation officer.

 (Standard Condition #8)            The defendant shall refrain from
                                    excessive use of alcohol and
                                    shall not purchase, possess,          November 18, 2004
                                    use, distribute, or administer
                                    any narcotic or other controlled
                                    substance, or any paraphernalia
                                    related to such substances
                                    except as prescribed by a
                                    physician.

Original Offense: Conspiracy to possess with intent to distribute crack cocaine.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
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IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                             December 21, 2005

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                      December 22, 2005
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                                       IMPRISONMENT

It is ordered that the defendant’s supervised release is revoked. The defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
thirty-six (36) months to run consecutively with the sentence imposed by the Oklahoma
Department of Corrections (Case numbers: CRF# 2005-302 and CRF# 2005-8) with no
supervised release to follow.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated at the federal facility in Lompoc, California.

The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                           _____________________________
                                                                   Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of
_______________, _____ to _________________________________, with a certified copy of
this judgment.


                                                     __________________________________
                                                             UNITED STATES WARDEN


                                                 By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of _______________, ______
                                                      __________________________________
                                                               UNITED STATES WARDEN


                                                 By:__________________________________
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                    Total Fine                  Total Restitution

          $100 (PAID)




                                             FINE

                                          RESTITUTION
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                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:


        The defendant shall pay the special assessment in the amount of $100 (PAID).

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of
the court, unless otherwise directed by the court, the probation officer or the United States
attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

        Payments shall be applied in the following order: (1) assessment, (2) restitution principal,
(3) restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties,
and (8) costs, including cost of prosecution and court costs.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
